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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STAT

 

 

 

COURT

 

   

 

 

 

 

 

 

 

 

IQUE A. GUTIERREZ

 

Plaintiff(s)

Vv. Civil Action No. 6:22-cv-02186-ACC-EJK

QUICK FLIP CREDIT LLC

 

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Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Quick Flip Credit, LLC
clo Registered Agent
Jeffrey Veloz
4 Cumberland Ct
Somerset, NJ 08873

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Franklin A. Jara

Sulaiman Law Group, Ltd
2500 S Highland Ave, Suite 200
Lombard, IL 60148

Lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT J
Shanida'Dixon
Date: December 12, 2022

 

 

Signature of Clerk or Deputy Clerk

 

 
 

UNITED States District Court

for the
MIDDLE DISTRICT OF FLORIDA

MONIQUE A. GUTIERREZ
Plaintiff

 

v. Civil Action No. 6:2?«cv-02186-ACC-EJK.

QUICK FLIP CREDIT LLC

 

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Defendant

AFFIDAVIT OF SERVICE

I, Jyll Jakes, being duly sworn, state:

Tam 18 years or older and not a party to this action.

[ received the following documents on December 14, 2022 at 1:26 pm. I served these documents with my initials,
identification number, and the date and hour of service endorsed thereon on Quick Flip Credit, LLC in Somerset
County, NJ on December 20, 2022 at 7:39 pm at 4 Cumberland Ct, Franklin Township, NJ 08873 by leaving the
following documents with Linda Velos who as Wife of the Registered Agent is authorized by appointment or by law
to receive service of process for Quick Flip Credit, LLC.

Summons
Complaint
Order on Discovery Motions

Additional Description:
LIMITED LIABILITY COMPANY SERVICE: The address for the Registered Agent/Manager/Member is a
residence. I served and explained the contents to a co-resident of the Registered Agent/Manager/Member pursuant to

F.S. 48.062 (4) and F.S. 48.031

There were dogs barking at the address and the lights were on. A woman named Linda Velos answered the door and

l asked for Registered Agent Jeffrey Velos. Jeffrey then said to hand Linda the papers and Linda explained he was
unavailable to come to the door. | handed Linda the papers and she accepted.

Hispanic or Latino Female, est. age 25, glasses: N, Black hair, 120 Ibs to 140 lbs, 5' to 3° 3".

Geolocation of Serve: http://maps.google.com/maps?q=40.522205 1 -74.4982109

Photograph: See Exhibit |

I DECLARE UNDER PENALTY OF PERJURY THAT I HAVE READ THE FOREGOING AFFIDAVIT OF

Job #214718 Paul Pankiewicz Page |

 
SERVICE, AND THE FACTS HEREIN ARE TRUE AND CORRECT. Notary not required pursuant to Florida
Statute 92.525.

 

Executed in ¥ wit
on Jary 3, 2022 (732) 693-8771

Shuks dati J Jakes, PO BOX 1216, Woodbridge, NJ 07095

 

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SHEILA MAIRI ESKRIDGE
NOTARY PUBLIC OF NEW JERSEY
Comm. # 2437787
My Commission Expires 8/23/2023

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